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UNITED STATES DISTRICT COURT                                                 ElLO
WESTERN DISTRICT OF NEW YORK



EUNICE A. BRIGGS, as Administratrix of                                        cvr'-Ml


the Estate of Richard E. Briggs, TONI A.
BRIGGS, Co-Administratrix of the Estate of
Richard E. Briggs,
                                                         DECISION AND ORDER
                     Plaintiffs,
              V.                                        6:09-CV-06147 EAW


THE COUNTY OF MONROE,THE
MONROE COUNTY SHERIFF'S OFFICE,
and SHERIFF PATRICK OTLYNN,

                     Defendants.




                                   INTRODUCTION


       Plaintiffs Eunice and Toni Briggs (collectively,''Plaintiffs"), co-administratrices of

the estate of the decedent, Richard Briggs ("Decedent"), commenced this action against

Defendants the County of Monroe (the "County"), the Monroe County Sheriffs Office

("MCSO"), and Sheriff Patrick O'Flynn ("Sheriff O'Flynn")(collectively, "Defendants")

for damages arising from Decedent's tragic suicide after a four-hour standoff with law

enforcement.' (Dkt. 1; Dkt. 2). Plaintiffs bring claims arising under state law as well as

42 U.S.C. § 1983. (Dkt. 2). Presently before the Court is Defendants'motion for summary

judgment. (Dkt. 55). For the reasons that follow, Defendants' motion is granted with




'     Plaintiffs originally named 12 defendants, but nine of those defendants have since
been dismissed from this action. (See Dkt. 25; Dkt. 39; Dkt. 54).
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